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 The relief described hereinbelow is SO ORDERED.



 Signed July 31, 2024.

                                                      __________________________________
                                                           CHRISTOPHER G. BRADLEY
                                                      UNITED STATES BANKRUPTCY JUDGE
 ________________________________________________________________


                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

     In re:                                 §
                                            §      Case No. 23-11007-cgb
     ARTIUSID, INC.,
                                            §      Chapter 7
                         Debtor.            §

                     ORDER SETTING STATUS CONFERENCE ON
                 MOTION FOR REHEARING OF THE ORDER FOR RELIEF

        On July 29, 2024, the Debtor filed a Motion for Rehearing of the Order for
 Relief or in the Alternative for Stay Pending Appeal (the “Motion for Rehearing”)
 in response to the Court’s denial of the Debtor’s Motion to Dismiss and subsequent
 entry of an Order for Relief. 1 The Debtor also requested an expedited hearing on its
 Motion for Rehearing. 2 For the reasons stated herein, the Court will hold a status
 conference on the Motion for Rehearing to consider whether a stay pending
 determination of the Motion for Rehearing is appropriate under the circumstances of
 this case.



 1
       Mot. for Rehearing, ECF No. 70; Opinion on Mot. to Dismiss Involuntary Case, ECF No. 60;
       Order for Relief, ECF No. 62.
 2
       Mot. to Expedite, ECF No. 72.
                                                                                             1
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       Out of respect for the urgency of the matter, the Court has worked very hard
 on a short timeframe to put together this order (and apologizes for any potential
 oversights due to this timetable). The Court provides the guidance below as
 background on this matter—not to suggest that it has already made up its mind (it
 has not), but to provide the parties with information, context, and tentative views
 that may help them as they make their decisions in this matter.

       The upshot is, as the discussion below makes clear, the Court believes the
 Debtor’s position is unlikely to prevail. Accordingly, the Court urges the Debtor to
 consider other steps, such as converting this to a Chapter 11 case—relief that the
 Court would be happy to consider on an expedited basis.

                                  Background and Analysis

       In order to prevent the Court from simply entering an order for relief
 permitting an involuntary bankruptcy to continue, the statute requires an alleged
 debtor to “timely controvert” the petition that has been filed against it. 3 As the
 Debtor itself agrees,4 the Debtor in this case “controverted” the involuntary Chapter
 7 bankruptcy petition filed against it with a filing it made on December 19, 2023, in
 which it asked the Court “pursuant to 11 U.S.C. § 303 . . . to enter an Order
 dismissing the Involuntary Petition” because “all Petitioning Creditors [sic] claims
 are subject to a bone [sic] fide dispute as to both liability and amount.”5 The Debtor
 did not mention any other ground for dismissal of the petition—it did not
 “controvert” anything else. The Debtor did not mention Rule 12 of the Federal Rules
 of Civil Procedure or any of its sub-parts; it did not mention Rule 1011 of the Federal
 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).




 3
     11 U.S.C. § 303(h) (directing courts to enter an order for relief if an involuntary petition “is
     not timely controverted.”).
 4
     Mot. For Rehearing 4, n.2, ECF No. 70 (“Here, the Debtor ‘timely controverted’ the
     involuntary petition by filing the Motion to Dismiss.”).
 5
     Mot. to Dismiss, ECF No. 9.
                                                                                                   2
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        In the involuntary petition, 6 the verified statement in support of the
 involuntary petition, 7 and the briefing in this matter, 8 the Petitioning Creditors
 straightforwardly alleged—and the Debtor failed to challenge—that the Debtor was
 not paying its debts as they came due, a required element under § 303(h). In their
 first response to the Debtor’s Motion to Dismiss, for instance, the Petitioning
 Creditors spend no less than five substantive paragraphs over three pages presenting
 argument and authority to support the proposition that “The Debtor Is Not
 Generally Paying Its Debts as They Come Due.” 9 Although this was plainly put
 at issue, the Debtor made no attempt to “controvert” this allegation either in any
 filing or at any hearing in this matter.

         As to the single matter the Debtor did “controvert”—whether the Petitioning
 Creditors were holders of sufficient claims not subject to bona fide dispute as to
 liability or amount—the Court was prepared to promptly try the Debtor’s position at
 that time as required by statute. But together with the Petitioning Creditors, the
 Debtor chose to stipulate to certain facts and conduct a trial on this matter “on the
 papers, as exhaustively discussed in numerous hearings, 10 documented in scheduling
 orders,”11 and laid out at length in the Court’s opinion. 12 In so doing, the parties
 chose not to avail themselves of all sorts of procedural rights that they would have
 been entitled to. 13

       After losing at this trial, the Debtor now—through no less than its third set of
 lawyers—insists that it should be able to evade bankruptcy on a new grounds,
 namely that it is in fact paying its debts as they come due. It demands another trial
 on this basis. Leaving aside whether this is procedurally appropriate (discussed
 below), the facts that are in evidence do not help the Debtor. The evidence plainly

 6
      Involuntary Pet. 2, ECF No. 1 (checking box for “The debtor is generally not paying its debts
      as they become due, unless they are the subject of a bona fide dispute as to liability or
      amount.”).
 7
      V. S. 1, ECF No. 2.
 8
      Opp’n of Pet. Creditors to Mot. to Dismiss Involuntary Pet., ECF No. 16; Opening Br. of Pet.
      Creditors Re Mot. to Dismiss Involuntary Ch 7 Pet. ¶¶ 2, 21, 31, ECF No. 52.
 9
      Opp’n of Pet. Creditors to Mot. to Dismiss Involuntary Pet. ¶¶ 23–27, ECF No. 16.
 10
      See Hearings on Feb. 22, 2024; Feb. 29, 2024; Mar. 26, 2024.
 11
      Order Regarding Mot. to Dismiss, ECF No. 39; Scheduling Order, ECF No. 45.
 12
      Op. on Mot. to Dismiss Involuntary Case 2–6, ECF No. 60.
 13
      See, e.g., Bankruptcy Rule 1018. These are some of the rights the Debtor now, belatedly, insists
      that the Court must afford it to avoid a “manifest error of law.” Mot for Rehearing 5, ECF
      No. 70
                                                                                                    3
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 supports a finding that it was not paying its debts as they came due. While it now
 makes belated assertions regarding its excellent financial status and prospects, the
 documentary evidence demonstrates that for a considerable time period, and not very
 long before the petition was filed, the situation was dire. The Debtor’s
 representatives were repeatedly promising payment of the Petitioning Creditors’
 large invoices but then not making the payments;14 despite very ample opportunity
 to do so, the Debtor failed to show that there is any bona fide dispute as to any of the
 Petitioning Creditors’ $975,272.89 in claims; the Debtor’s supposed counterclaims
 against the Petitioning Creditors have (again despite ample opportunity for the
 Debtor to show otherwise) been shown to provide no objective basis to alter the
 finding that there is no bona fide dispute as to the Petitioning Creditors’ claims;15
 and yet the Debtor has not paid these debts despite their being (over)due.

        The actual e-mails from the Debtor’s own staff, for instance, which are
 attached to the Petitioning Creditors’ materials, are damning. They repeatedly state
 that the bills were “approved for processing and payment” (and similar language),16
 yet that never happened. Over time, ominous language was added to the approval:
 “Reviewed and approved for processing and payment when we secure the funds.”17
 The Debtor’s officer who reviewed and approved many of the invoices was Rebecca
 Wanta, who served with the Debtor at various times as member of its Board of
 Directors, Chief Operations Officer, Chief Technology Officer, and Chief

 14
      Decl. of Rebecca Wanta ¶ 9, ECF No. 49; Opp’n of Pet. Creditors to Mot. to Dismiss
      Involuntary Pet. Ex. A (Decl. of David Levy. “From July 2022 through March 2023, I made
      numerous demands, both verbally and in writing, for Xmogrify to be paid. In response, both
      verbally and in writing, the Debtor expressly acknowledged that (i) the invoices and the
      amounts sought therein were correct, (ii) the Debtor was in breach of the Agreement, and
      (iii) Xmogrify was owed payment. However, in order to induce me to continue to provide
      Services, the Debtor made numerous promises that Xmogrify would be fully paid once it
      received more funding.”), Ex. B (Decl. of Kevin Goldstein. “From January 2023 through
      March 2023, I continued to demand payments to GCS. Again, the Debtor admitted they owed
      the outstanding balance under the invoices and repeated their prior assurances that it would
      pay as soon as funding became available.”), Ex. C (Decl. of Mahesh Varma. “From
      August 2022 through November 30, 2022, when Rearc terminated the SOW, I made numerous
      demands for payment, both verbally and in writing. Each time, the Debtor parroted the message
      it previously conveyed through Levy, i.e. that the amounts sought by Rearc in the invoices
      were correct, the Debtor owed those amounts, and it would pay in full once it received
      additional capital.”), ECF No. 16.
 15
      Op. on Mot. to Dismiss Involuntary Case 30–32, ECF No. 60.
 16
      See, e.g., Goldstein Decl. Exs. 2–5, 10, 18, 21, 22, ECF No. 37.
 17
      Goldstein Decl. Ex. 23, ECF No. 37 (Jan. 18, 2023) (emphasis added).
                                                                                                 4
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 Information Officer. The affidavit of this “C-suite” officer for the Debtor, filed in
 support of the Petitioning Creditors, presents further damaging evidence:

        5.     I can state unequivocally that GCS, Rearc, and Xmogrify fully
        and satisfactorily performed the services in accordance with their
        written agreements (and any agreed-upon oral modifications to such
        agreements regarding the scope of services) with the company. In fact,
        at no point in time from their hiring in 2022 until my separation from
        the Alleged Debtor in February 2023, did I or anyone else at the
        company raise an objection to the services that each of them
        provided. . . .

        7.     I am advised that the Alleged Debtor is now taking the position
        that the services provided by the Petitioning Creditors was somehow
        inadequate, but that is untrue. The services for which the Alleged
        Debtor was billed by the Petitioning Creditors was performed
        satisfactorily and in accordance with the agreements.

        8.    Specifically, I have reviewed the Exhibits annexed to the
        February 20, 2024 Declaration of Kevin Goldstein (the “Goldstein
        Declaration”) and can verify that each of these invoices were approved
        for payment by the Alleged Debtor.

        9.     Prior to this time, I had several conversations with Steve Larson,
        the CEO through early 2023, and we repeatedly discussed how to get
        these invoices paid in the face of inadequate capitalization.
        Specifically, Mr. Larson was in my office daily and we discussed
        multiple times a day that these invoices were payable, but we needed to
        find the new investment to pay them. We gave repeated assurances to
        the Petitioning Creditors that these invoices would be paid once the new
        investment funds came in, and ultimately convinced them to simply
        wait and continue to work without pay until this occurred.

        10. I have also reviewed the April 8, 2024 Declaration of
        Mr. Marcotte and the attachments thereto. My first comment is that
        Mr. Marcotte was not in a position to observe any of the work
        performed by the Petitioning Creditors and I do not understand why he
        is suggesting that there is a dispute as to the invoices in question, other

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         than to state this as a general conclusion or legal position; as suggested
         above, as I was responsible for approving invoices and the work
         product giving rise to such invoices and I, in fact, approved these
         invoices for payment. Indeed, as a result of the Petitioning Creditors’
         work, within approximately 90 days of hiring the Petitioning Creditors,
         in July 2022, the Alleged Debtor had its first salable product since it
         opened its doors in 2018 and had additional salable products within
         months thereafter – this is exactly why I hired the Petitioning Creditors.

         11. At no time were any the Petitioning Creditors asked to perform
         services which they did not perform. The Petitioning Creditors even
         continued to perform without pay based on promises by Mr. Larson,
         CEO of the Alleged Debtor, that if they were patient, the invoices in
         question would all be paid.

         12. This was true not just of the Petitioning Creditors, but for most
         of the Alleged Debtor’s creditors because the company simply did not
         have the funds on hand to pay its obligations as they came due.18

       One of the Petitioning Creditors’ principals, David A. Levy, submitted an
 affidavit in which he stated:

         [A]fter I demanded payment for the overdue invoices beginning in
         July 2022, the Debtor’s then-Chief Executive Officer, Steve Larson
         (“Larson”) apologized to me for the missed invoice payments. The only
         reason he and the Debtor’s then-CIO, Wanta, gave me for the missed
         payments was that the Debtor did not have sufficient capital to continue
         to pay for the Services and they simply “needed more time.” They
         promised that if I “stuck it out,” the Debtor would pay Xmogrify in full
         as soon as it received a capital infusion. . . .

         From July 2022 through March 2023, I made numerous demands, both
         verbally and in writing, for Xmogrify to be paid. In response, both
         verbally and in writing, the Debtor expressly acknowledged that (i) the
         invoices and the amounts sought therein were correct, (ii) the Debtor
         was in breach of the Agreement, and (iii) Xmogrify was owed payment.

 18
      Wanta Decl. 2–3, ECF No. 49.
                                                                                      6
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       However, in order to induce me to continue to provide Services, the
       Debtor made numerous promises that Xmogrify would be fully paid
       once it received more funding.

             (a) July 2022: Larson and Wanta acknowledged the
             invoices, amounts due, and promised to pay Xmogrify in
             full once it received funding.

             (b) September 30, 2022: in a meeting with Larson, Wanta,
             and me, Larson again acknowledged on behalf of the
             Debtor that substantial payments were owed to Xmogrify
             for the Services, as invoiced, and promised that payment
             would be made in full by the end of October 2022, once
             the Company received its expected infusion of needed
             capital.

             (c) Early November 2022: Larson made similar promises
             to me and stated that payment in full would be made by the
             end of November.

             (d) November 14, 2022: the Debtor’s then-Executive Vice
             President of Business Development and Co-Founder,
             Dominic O’Dierno traveled to New York to raise capital
             and solicit investments from investors. O’Dierno had
             dinner with me, during which he acknowledged the
             amounts owed to Xmogrify and promised to pay it in full
             upon receiving additional funding.

             (e) December 2022: despite these promises, the Debtor did
             not pay Xmogrify. In December 2022, O’Dierno, Larson,
             and Wanta again promised to pay Xmogrify as soon as
             funding came in.

             (f) January 4, 2023: around this time, I heard that a
             $6 million capital raise was “imminent,” and so I inquired
             about payment. O’Dierno again acknowledged that
             substantial amounts remain owing to Xmogrify, and
             promised that payment would be made in full.

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             (g) January 24, 2023: following a capital raise, I again
             inquired with O’Dierno whether Xmogrify would be paid,
             and O’Dierno promised to make payment.

             (h) February 6, 2023: in early 2023, the Debtor began
             overhauling its leadership. On January 23, 2023, it
             appointed Brian Grant (“Grant”) as its Chief Financial
             Officer, who later reached out to me to discuss the balance
             owed to Xmogrify.

             (i) February 7, 2023: Though he had only joined the
             Debtor two weeks prior, during the February 7th meeting,
             Grant expressly acknowledged that the Company owed
             hundreds of thousands to Xmogrify. However, he
             reiterated that the Company needed additional capital and
             asked that I “work with” them by agreeing to a payment
             plan.

             (j) February 8, 2023: following our meeting, Grant again
             acknowledged that the Debtor would pay Xmogrify in full.

             (k) February 16, 2023: the Debtor’s then-Chief
             Information Security Officer, Tony Clem (“Clem”)
             acknowledged in a phone call with me that substantial
             amounts were due to Xmogrify. Clem told me that, “we’ve
             got to get you paid and everyone paid, and this isn’t
             right,” assured me that I was an “important part of the
             team,” and Xmogrify would be paid as soon as the
             Company received more funding.

             (l) February 17, 2023: in a phone call, Grant again made
             another promise that the Company would pay Xmogrify
             for all the outstanding amounts and that he would circulate
             a payment schedule. Grant also promised that payment for
             Xmogrify’s most recent invoice would be paid by wire “as
             soon” as the expected funding was “deposited” into the
             Company’s accounts, i.e., “we get the money in, and you’ll
             get paid the day after.”

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                (m) March 2, 2023: all employees and contractors were
                invited to an “All Teams Meeting” during which Michael
                Marcotte (“Marcotte”) announced that the Debtor had
                appointed him as the new Chief Executive Officer,
                replacing Larson. Marcotte and I had a call on that day,
                during which Marcotte acknowledged the past due balance
                owed to Xmogrify and promised that the balance due
                would be paid, but that they “need[ed] to figure out a plan”
                and “making the plan was the highest priority.”19

 Repeated assurances of payment, payment always just around the bend, stringing the
 creditor along—all of these are hallmarks of debtors who are not paying their debts
 as they come due.

         Not to belabor the point, but suffice it to say, very similar evidence was
 provided by the other Petitioning Creditors. In brief, Kevin Goldstein, principal of
 one of the Petitioning Creditors, provides a very similar account to Levy’s. He states
 that the Debtor repeatedly “promised that ‘payments would be coming’ and
 [Goldstein’s company] would be ‘made whole.’”20 In early 2023, the Debtor “failed
 to pay me (and other key employees) their salaries,” and the Debtor’s officer “told
 me that they would ‘take care of it as soon as we can.’” 21 Mahesh Varma, principal
 of the third Petitioning Creditor, Rearc, gave similar credible, uncontroverted, and
 damning testimony in his Declaration. Among other things, he adds that he was told
 in September of 2022 by the Debtor’s CEO that “the Debtor was ‘so close’ to having
 the funding to pay Rearc and promised that if Rearc continued to provide the
 Services, all outstanding amounts (which at that time was $476,000) would be paid
 in full by the end of October 2022. Following the meeting, I sent an email to Larson
 confirming the Debtor’s promise to pay Rearc as discussed.”22

        To emphasize, the Debtor chose to conduct what its own counsel described as
 a “trial” by means of these various affidavits, documents, and stipulations. They are
 the evidence that the parties agreed for the Court to use, and the Debtor never
 objected. Nor did it provide countervailing evidence of any substance. This is more

 19
      Levy Decl., Opp’n Mot. To Dismiss Ex. A ¶¶ 14, 16, ECF No. 16 (all emphases added).
 20
      Goldstein Decl. Ex. B ¶ 16, ECF No. 16.
 21
      Id. ¶ 19.
 22
      Varma Decl. Ex. C ¶ 17, ECF No. 16.
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  than enough evidence to support a finding that the Debtor was not paying its debts
  as they came due, particularly given the Debtor’s lack of any countervailing
  evidence. The Debtor’s after-the-fact, vaguely stated claims that, despite all of the
  above, the Petitioning Creditors actually do not deserve compensation was not
  sufficiently supported, nor was the equally vaguely stated counterclaim, as the Court
  has explained in its opinion on this matter.23

         This is all already established in the record in this case. And in considering
  this mountain of evidence, the procedural problem with the Debtor’s newly taken
  position becomes clear: contrary to the view the Debtor now takes, but as the
  Debtor’s prior (two) counsel(s) were well aware, the Motion to Dismiss was not a
  preliminary motion to dismiss based on Rule 12, but rather an evidentiary trial of
  the issue(s) the Debtor had chosen to “controvert” in this case—which do not
  include the issue the Debtor now seeks to controvert.24

        The Debtor’s choice to title its response controverting the Petition a “Motion
  to Dismiss” is perhaps the source of the Debtor’s current confusion, because that is
  often the title given to motions under Rule 12 of the Federal Rules of Civil
  Procedure. And it is true that Rule 12 motions (made applicable here by Bankruptcy
  Rule 1011) are often determined prior to the merits of a proceeding. But in the
  context of an involuntary petition, a Motion to Dismiss is not always a Rule 12
  motion—it can instead be a substantive motion calling for an evidence-based trial of
  the merits of the petition as contemplated in § 303(h). And as Collier notes, the exact
  objection urged here (that the Petitioning Creditors’ claims were subject to a bona
  fide dispute) is one of the “possible defenses” often urged in response to an
  involuntary petition.25

         In other words, the Debtor initiated a merits determination by its Motion to
  Dismiss. This was obvious to all at the time. In fact, after receiving the Motion for
  Rehearing, the Court painstakingly reviewed the records of the four hearings held in
  this matter and found no hint that the Debtor disputed the Petitioning Creditors’
  assertion that it was not paying its debts as they came due or that it expected a
  separate, later trial on that matter. Indeed, the word “trial” was used by Debtor’s
  23
       Op. on Mot. to Dismiss Involuntary Case 27–32, ECF No. 60.
  24
       See In re AMC Invs., LLC, 406 B.R. 478 (Bankr. D. Del. 2009) (entering an order for relief
       after determining that there was no bona fide dispute because the alleged debtors had not
       contested the involuntary petition based on insolvency).
  25
       2 Collier on Bankruptcy ¶ 303.20 (Richard Levin & Henry J. Sommer eds.,16th ed. rev. 2024).
                                                                                               10
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  counsel numerous times to refer to the dispute that was actually pending concerning
  what the Debtor had actually placed in dispute.26 The whole purpose of the
  stipulations the parties entered into was to save what they anticipated to be the
  substantial expenses of what Debtor’s counsel called the trial. This further confirms
  the Court’s own strong impression from the time, which is that this was the trial that
  everyone expected and that the statute requires.

         To elaborate further: as Bankruptcy Rule 1013 makes clear, the usual orders
  on an involuntary petition are either an “order for relief” (if the debtor loses) or an
  order “dismiss[ing] the petition” (if the debtor wins). If you want a dismissal (as the
  Debtor did here), then titling your motion as a “motion to dismiss” makes sense. But
  it does not necessarily mean that Rule 12 is implicated. Indeed, again, although
  Bankruptcy Rule 1011 permits Rule 12 objections to be raised in an involuntary
  bankruptcy, none were made here. After all, in a Rule 12 motion, “the petition is
  construed in the light most favorable to the party opposing the motion to dismiss,
  and all allegations of fact are taken as true.” 27 No one asked for or expected such a
  presumption here—because all knew that this was to be an evidentiary trial of the
  merits of the petition. All of the lengthy back-and-forth about witnesses and
  documentary evidence and so on, which the Debtor engaged in together with the
  Court, would make no sense otherwise. Nor would the repeated mentions of “trial”
  in the hearings, as noted above. And nowhere was there any suggestion that this
  “trial” was to be later followed by yet another “trial,” as the Debtor now suggests.

        Rather than urge a Rule 12 basis for dismissal, the Debtor moved to dismiss
  via a direct challenge to the Petitioning Creditors’ ability to meet the statutory




  26
       For example, in the hearing on February 15, 2024, where Debtor’s counsel stated, in support
       of the bond he was seeking, “if we go to trial on this, I’ve got to bring people in from out of
       state, I’ll probably need to bring in my state court, New York lawyer here” (emphasis added)
       (Court’s informal transcription from audio recording). In the hearing on February 22, 2024, he
       stated, “we want to have our day in court. That’s perfectly fine. Well, we’ll have a trial here
       on the 27th. But they’re in New York. I've got clients in Washington State and Colorado, and
       San Antonio, that are all coming up here for this trial.” (emphasis added) (Court’s informal
       transcription from audio recording). He also stated, “it’s going to be an awful lot of prep to get
       ready for this trial.”
  27
       See, e.g., 9 Collier on Bankruptcy ¶ 1011.03 (discussing this principle in the context of an
       involuntary bankruptcy petition).
                                                                                                      11
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  standard of § 303 (as indeed the Motion to Dismiss, quoted above, makes clear).28
  This was the Debtor’s chance to present evidence and get the relief it wanted. In the
  Motion to Dismiss, the question to be tried was whether the Petitioning Creditors
  “had the goods,” so to speak, as a factual and legal matter. The Debtor and the
  Petitioning Creditors put forth extensive arguments and evidence concerning this
  question. The Court found that they did indeed have the goods, and it issued the
  Order for Relief as a result.

         The Debtor’s complaints about due process do not, for these reasons, appear
  to have merit. The Debtor voluntarily chose to “try” the case “on the papers” based
  on stipulations, evidence, and briefing.29 And it chose not to controvert the
  allegation—which was, as noted, repeatedly and clearly made,30 and is supported by
  ample evidence—that it was not paying its debts as they came due. As with the other
  uncontested aspects of this petition, the Court did not “try” this issue because the
  Debtor chose to not seek such a trial by putting the matter at issue. There is no due
  process problem with that. Laying behind the log has consequences. An award of a
  second trial is not one of them.

         The Fifth Circuit law cited by the Debtor certainly does not teach otherwise.
  In Ferguson v. Baron (In re Baron),31 the bankruptcy court was faced with
  challenges from the debtor both to whether the petitioning creditors’ claims were
  subject to bona fide dispute (§ 303(b)(1)) and to whether the debtor was paying his
  debts as they came due (§ 303(h)). The bankruptcy court awarded partial summary
  judgment to the petitioning creditors on the “bona fide dispute” issue, and then after
  an evidentiary hearing, also found for them on the “paying debts” issue. The district
  court disagreed with the bankruptcy court on the “bona fide dispute” issue, and then,
  rather than remanding to the bankruptcy court to try that issue (as it had tried the

  28
       As precedent makes clear, this is not a jurisdictional matter. 2 Collier on Bankruptcy ¶ 303.08
       (“The circuits are in agreement that the requirements of section 303(b)—that is, the type of
       claims that petitioning creditors must have, and the proper number of petitioning creditors—
       are not jurisdictional and may be waived.”); see also In re Rambo Imaging, L.L.P., No. 07-
       11190FRM, 2007 WL 3376163, at *3 (Bankr. W.D. Tex. Nov. 8, 2007) (“Section 303(b)
       determines whether a creditor is ‘eligible’ to file the petition. . . . In the Fifth Circuit, however,
       it is clear that ‘eligibility does not raise an issue of subject matter jurisdiction.’” (quoting
       Matter of Phillips, 844 F.2d 230, 236 n.2 (5th Cir. 1988))).
  29
       Op. on Mot. to Dismiss Involuntary Case 3–6, ECF No. 60.
  30
       See supra notes 6–8.
  31
       593 F. App’x 356 (5th Cir. 2014) (unpublished).
                                                                                                          12
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  other one), the district court remanded with instructions to dismiss the case. The
  Fifth Circuit held this to be improper because, even if they were correctly denied
  summary judgment, the petitioning creditors had not yet received an evidentiary
  hearing on the bona fide dispute issue. In this same ruling, the Fifth Circuit also
  affirmed the bankruptcy court’s ruling on § 303(h).

         For our purposes, what is particularly revealing about Ferguson is that it
  actually supports the exact opposite position to that urged by the Debtor here. Both
  the “bona fide dispute” issue and the “paying debts” issue were “controverted” by
  the debtor in his response to the involuntary petition, 32 and both issues were the
  subjects of the same appeal at the Fifth Circuit. It is true that the bankruptcy court
  decided one issue by summary judgment well in advance of the other issue, on which
  it held an evidentiary ruling—but the bankruptcy court is at pains, in its opinion
  explaining its grant of the order for relief, to emphasize that this “bifurcation” was
  requested by the parties. The reason it ruled on the “bona fide dispute” issue at
  summary judgment is because—after the debtor “controverted” both issues in his
  response—the parties requested that the court first determine whether the petitioning
  creditors had standing under § 303(b) and, in fact, entered into stipulations in aid of
  such a determination. 33 There is no indication that the bankruptcy court would
  otherwise have bifurcated its consideration of these two issues. Indeed, its very
  (repeated) use of the term “bifurcation” shows that it considers these issues to have
  been linked until they were bifurcate; you do not bifurcate things that already are
  separate. Further, in its opinion supporting the order for relief, the bankruptcy court
  includes a full explanation of its partial summary judgment, which, as noted, was
  then appealed together with the § 303(h) determination. If the “bona fide dispute”
  issue had been a prior and separate contested matter, the time for appeal would have




  32
       See Jeffrey Baron’s 12(b) Motions & Provisional Answer, In re Baron (No. 12-37921), ECF
       No. 20. Notably, too, the debtor in that case did raise actual Rule 12 defenses, which highlights
       the distinction from the Debtor here.
  33
       In re Baron, No. 12-37921, 2013 WL 3233518, at *5 (Bankr. N.D. Tex. June 26, 2013) (“[T]his
       bankruptcy court was asked to bifurcate the issues . . . .”), rev’d sub nom. Baron v. Schurig,
       No. 3:13-CV-3461-L, 2014 WL 25519 (N.D. Tex. Jan. 2, 2014), aff’d in part, rev’d in part
       and remanded sub nom. In re Baron, 593 Fed. App’x 356 (5th Cir. 2014); id. at *2 (“[T]he
       parties requested that the court first decide . . . whether the Petitioning Creditors had standing
       to file the involuntary petition under section 303(b)) . . . .”).
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  long been past—but neither the district court nor the Fifth Circuit considered it to be
  so, as both appellate courts discussed both issues.34

         The point is that in Ferguson, the debtor “controverted” both of the relevant
  issues, and the court set them up for determination at one time; our Debtor
  “controverted” only one issue, and now it has to live with the consequences. Nothing
  here is contrary to Ferguson. The Debtor was not entitled to multiple trials; it was
  entitled to one trial, and it received it, with a result that it does not like. The Court
  does not see the Debtor as having been ambushed; it sees the Debtor as trying to
  accomplish an ambush.

         For the foregoing reasons, the Court is deeply skeptical that the Debtor has
  the right to another bite at the apple. The Court’s view as of now is that the ship has
  sailed, the train has left the station, the Debtor was given very ample chances in this
  case and while it (or its new counsel) may now regret its (or its prior two counsels’)
  strategic decisions, they cannot now be undone without inequity toward the
  Petitioning Creditors (and potentially other parties in interest). The Debtor could
  have changed courses at some point during the 5+ months that the parties were
  actively litigating this matter. The Debtor now contemplates a separate trial,
  dragging this matter out much further. This delay would be unwarranted and
  inequitable.

          Nonetheless, the Court will hold a status conference in this matter on
  August 1, 2024, at 1:30 pm (Central Time), via Zoom, at
  https://www.zoomgov.com/my/bradley.txwb or Meeting ID: 160 1114 1085. At that
  status conference, among other things, it will consider staying the order for relief
  until the Debtor’s Motion for Rehearing can be decided, although the Debtor is
  hereby put on notice that, at a minimum, in order even to consider such (temporary)
  relief, the Court will require the Debtor to either (a) accept supervision by an interim
  trustee pursuant to 11 U.S.C. § 303(g), while providing for sufficient retainer in
  order to guarantee payment of that trustee’s fees; (b) stipulate that it will take no
  actions outside of the ordinary course of business without Court approval, while
  providing for sufficient monitoring for the Court to have confidence in its strict

  34
       Ferguson, 593 F. App’x at 359–60 (noting that the district court “found it unnecessary to rule
       on [the debtor’s] § 303(h) claim regarding whether he was insolvent” in light of its ruling on
       the bona fide dispute claim but providing no indication that the bona fide dispute claim was
       not still ripe for appeal).
                                                                                                  14
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  compliance; or (c) take other, similar steps to ensure that its assets are protected on
  behalf of all creditors. A stay will be no picnic, in other words; and the Court will
  only grant it if it is convinced both that the requested relief is likely warranted and
  it has firm confidence that all parties in interest will be thoroughly protected.

                                               Conclusion

         To be clear, the Court does not believe that Debtor’s new counsel has behaved
  inappropriately in requesting this relief. Indeed, perhaps if that counsel had been
  retained earlier, the outcome for the Debtor would have been different. But before
  proceeding further down this road, counsel needs to be aware of the full history of
  the case, which does not seem, to the Court, to support the Debtor’s current position.
  This order is intended to aid in that awareness.

         Despite all of the foregoing—which is provided only in order to aid the parties
  as they consider next steps in this matter—the Court wishes to emphasize that it has
  not prejudged this matter, although undeniably, the Debtor has an uphill battle.
  Nevertheless, while emphasizing that the matter has not been decided, the Court
  urges the Debtor, and its new counsel, to consider whether the fight is worthwhile.

         To be specific, the Court urges the Debtor to consider a different path. In light
  of the facts and law that are—as the Court currently sees the matter—unlikely to
  support the Debtor’s position, and in light of the fact that the Debtor states that it
  fervently wants to avoid its business being liquidated, the Debtor should consider
  whether a better use of its time, energy, and money would be to consent to the order
  for relief and seek expedited conversion of this case to Chapter 11, so that the
  business could be more easily operated while it is reorganized. 35

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       See 11 U.S.C. § 706(a) (“The debtor may convert a case under this chapter to a case under
       chapter 11 . . . of this title at any time . . . .”). Of course, businesses can be operated for some
       time in Chapter 7 as well. See 11 U.S.C. § 721. But Chapter 11 might be a better fit if the
       Debtor does indeed have long-term operational value.
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